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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

---------------------------X
 UNITED STATES OF AMERICA

       - against -                                   Docket No. 18-CR-561 (S-1) (DLI)

KEITH WYCHE,
     also known as “Marco,” and
ONEIL ALLEN,
     also known as “James,”                          VERDICT SHEET

                  Defendants.
---------------------------X

All jurors must agree on the answers to all of the questions. Please indicate your verdict with a
check mark ().

                                        COUNT ONE
      (Conspiracy to Distribute and Possess with Intent to Distribute Heroin and Fentanyl)

On the charge of conspiracy to distribute and to possess with intent to distribute one more
controlled substances, specifically heroin or fentanyl, we the jury find as follows:

               As to defendant KEITH WYCHE:

               Not Guilty ________           Guilty _______


               As to defendant ONEIL ALLEN:

               Not Guilty ________           Guilty _______




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                                        COUNT TWO
         (Distribution of and Possession with Intent to Distribute Heroin and Fentanyl)

On the charge of distributing and possessing with intent to distribute one or more controlled
substances, specifically heroin or fentanyl, we the jury find as follows:

               As to defendant KEITH WYCHE:

               Not Guilty ________           Guilty _______


               As to defendant ONEIL ALLEN:

               Not Guilty ________           Guilty _______


                                       COUNT THREE
               (Distribution of Fentanyl Resulting in the Death of Vincent Price)

On the charge of distributing a substance containing fentanyl to Vincent Price, the use of which
resulted in the death of Vincent Price, we the jury find as follows:

               As to defendant KEITH WYCHE:

               Not Guilty ________           Guilty _______


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                                       COUNT FOUR
        (Distribution of Fentanyl Resulting in Serious Bodily Injury to Sarah Wieboldt)

On the charge of distributing a substance containing heroin to Sarah Wieboldt, the use of which
resulted in serious bodily injury to Sarah Wieboldt, we the jury find as follows:

              As to defendant KEITH WYCHE:

              Not Guilty ________           Guilty _______


              As to defendant ONEIL ALLEN:

              Not Guilty ________           Guilty _______



Dated: Brooklyn, New York

        ____________________, 2023


                                                           _____________________________
                                                                      Foreperson




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